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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                              :              CHAPTER 7
                                                    :
KELVIN BERNARD JOHNSON,                             :              CASE NO. 19-51667-BEM
TRACEY ANN JOHNSON,                                 :
                                                    :
         Debtors.                                   :


                                                    :
S. GREGORY HAYS, Chapter 7 trustee                  :
for the estates of Kelvin Bernard Johnson           :
and Tracey Ann Johnson,                             :
                                                    :
         Plaintiff,                                 :
                                                    :
vs.                                                 :              Adv. Pro. No.
                                                    :
FREEDOM MORTGAGE CORPORATION,                       :
                                                    :
         Defendant.                                 :
                                                    :


                                            COMPLAINT

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or “Plaintiff”) for the

bankruptcy estates (collectively, the “Bankruptcy Estate”) of Kelvin Bernard Johnson and

Tracey Ann Johnson (collectively, “Debtors”), by and through undersigned counsel, and files

this Complaint (the “Complaint”) against Freedom Mortgage Corporation (“Defendant”).

                                Jurisdiction, Venue, and Parties

                                              1.

         This adversary proceeding is initiated pursuant to Rule 7001(a) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and 11 U.S.C. §§ 362, 549, 550, and 551.



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                                              2.

         This Court has jurisdiction of the subject matter of this proceeding under 28 U.S.C. §§

157 and 1334 because the claims asserted herein arise under Title 11 of the United States Code

(the “Bankruptcy Code”). Defendant is subject to the jurisdiction of this Court.

                                              3.

         This adversary proceeding arises in and relates to the Chapter 7 bankruptcy case In re

Kelvin Bernard Johnson and Tracey Ann Johnson, Case No. 19-51667-BEM (the “Case” or

“Bankruptcy Case”), pending in the Northern District of Georgia, Atlanta Division.

                                              4.

         This Complaint is a core proceeding pursuant to 28 U.S.C. §157.

                                              5.

         Venue is proper in this Court pursuant to 28 U.S.C. § 1409(a) because Debtor’s case is

pending in this district and this division.

                                              6.

         Trustee consents to the entry of final orders or judgment by the Bankruptcy Court.

                                         Statement of Facts

                                   a. General Background Facts

                                              7.

         Debtors filed a voluntary petition under Chapter 7 of Title 11 of the United States Code

on January 31, 2019 (the “Petition Date”) and initiated the Bankruptcy Case.

                                                   8.

         Shortly thereafter, Trustee was appointed to the Bankruptcy Case as interim Chapter 7




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Trustee under 11 U.S.C. § 701(a)(1).

                                               9.

         At the conclusion of the Chapter 7 meeting of creditors, conducted in accordance with 11

U.S.C. § 341(a) on March 11, 2019, Plaintiff became the permanent Chapter 7 Trustee under 11

U.S.C. § 702(d).

                                           b. The Property

                                               10.

         By virtue of a Warranty Deed (the “Warranty Deed”) dated April 30, 2009, Debtors

were granted an ownership interest as joint tenants with the right of survivorship in a certain real

property and improvements known commonly as 4815 Village Square Northwest, Acworth,

Cobb County, Georgia 30102-3464 (the “Property”). The Warranty Deed was recorded in the

real property records with the Clerk of the Superior Court of Cobb County, Georgia (the “Real

Estate Records”) on May 14, 2009.

             c. The Pre-Petition Security Interest Transfer and First Adversary Proceeding

                                               11.

         Debtors executed a Security Deed dated December 21, 2017 (the “First Security Deed”)

in favor of New Day Financial, LLC (“New Day”), conveying the Property to secure a debt in

the principal amount of $208,308.00 (the “New Day Debt”).

                                               12.

         The First Security Deed was recorded in the Real Estate Records on January 3, 2018 at

Pages 2279-2292 of Deed Book 15505.




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                                              13.

         Upon information and belief, Defendant was the servicer of the New Day Debt.

                                              14.

         Indeed, Debtors scheduled Defendant as a claimant on their bankruptcy disclosure forms.

                                              15.

         Debtors’ execution of the First Security Deed was not attested by an official witness as

required by O.C.G.A. § 44-14-61. This defect in attestation is apparent on the face of the First

Security Deed.

                                              16.

         As a result, the First Security Deed was not in recordable form, and, even though

recorded, does not provide actual or constructive notice to a bona fide purchaser.

                                              17.

         On February 3, 2020, Trustee filed a complaint (the “Complaint”) against New Day to,

among other things, avoid the transfers arising out of the First Security Deed and initiated the

adversary proceeding styled as Hays v. New Day Financial, LLC (Adv. Pro. No. 20-6026-BEM)

(the “First Adversary Proceeding”).

                                              18.

         Trustee served New Day with the Complaint. See [Doc. Nos. 3 and 4; Adv. Pro. No. 20-

6026-BEM].

                                              19.

         The First Adversary Proceeding remains pending.




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        d. The Notice of Bankruptcy Filing and Email from Agent of Freedom Mortgage

                                            20.

         On September 30, 2019, Trustee caused a notice of bankruptcy filing (the “Bankruptcy

Notice”) to be recorded in the Real Estate Records beginning at page 2899 of Deed Book 15670.

                                            21.

         The Bankruptcy Notice remains in the Real Estate Records and includes notice of

Debtors’ Chapter 7 petition.

                                            22.

         A true and correct copy of the Bankruptcy Notice is attached hereto and incorporated

herein by reference as Exhibit “A.”

                                            23.

         On September 21, 2020, Kami Elliot (“Ms. Elliot”) from Inspire Closing Services

emailed Trustee (the “September 21st Email”) and stated, among other things, “this is Kami

from Inspire Closings, we are the title company working with Freedom Mortgage on the refi [sic]

application for Kelvin and Tracey Johnson. We just need to know if you will approve us to

move forward with the loan process due to the attached bankruptcy case.”

                                            24.

         Ms. Elliot attached a copy of the Bankruptcy Notice to her September 21st Email to

Trustee.

                                            25.

         In response to the September 21st Email, Trustee’s counsel emailed Ms. Elliot

(“Trustee’s Responsive Email”) and stated, in part, “Trustee vehemently objects to the

refinancing of the underlying loan. In fact, he has filed a lawsuit against the current mortgage




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company, and that litigation remains pending.”

                                              26.

         Ms. Elliot received Trustee’s Responsive Email. Indeed, she replied (the “Reply”),

“Thank you for your prompt response. I will advise the proper managers.”

                                              27.

         Attached hereto and incorporated herein by reference as Exhibit “B” is a copy of the

email chain that includes the September 21st Email, Trustee’s Responsive Email, and the Reply.

                                              28.

         Inspire Closing Services was an agent of Defendant at all relevant times in this Adversary

Proceeding.

        e. The Unauthorized Post-Petition Transfer of a Security Interest in the Property

                                              29.

         Despite the facts that (a) Debtors had scheduled Defendant on their bankruptcy disclosure

forms and given Defendant notice of the Bankruptcy Case; (b) Trustee had recorded the

Bankruptcy Notice on the Real Estate Records; and (c) Trustee had informed Inspire Closing

Services, an agent of Defendant, that he did not consent to a refinancing by Debtors, on or about

December 15, 2020, Debtors executed a Security Deed (the “Second Security Deed”)

transferring an interest in the Property to Defendant to secure the repayment of a loan in the

original principal amount of $202,043.00 (the “Post-Petition Transfer”).

                                              30.

         At the top of the first page of the Second Security Deed, the name, address, and telephone

number of Inspire Closing Services appear. This is the same name, address, and telephone

number that were in the signature block of Ms. Elliot’s September 21st Email to Trustee.




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                                              31.

         In addition, and also at the top of first page of the Second Security Deed, there is a

handwritten number, 759045, and this handwritten number is identical to the order number that

appears in the subject line of the September 21st Email from Ms. Elliot to Trustee.

                                              32.

         The Second Security Deed was recorded on the Real Estate Records beginning at page

5013 of Deed Book 15844.

                                              33.

         A true and correct copy of the Second Security Deed is attached hereto and incorporated

herein by reference as Exhibit “C.”

                                              34.

         By receiving the Post-Petition Transfer during the pendency of the Bankruptcy Case,

Defendant has behaved in bad faith, has harmed the Bankruptcy Estate, and has violated the

automatic stay of 11 U.S.C. § 362.

                                              35.

         Indeed, the Post-Petition Transfer is not the only example during this Bankruptcy Case of

Defendant’s cavalier attitude toward the automatic stay of 11 U.S.C. § 362 and its intentional

disregard of this Court’s jurisdiction and authority.

                                              36.

         For example, in January of 2020, Debtors refinanced the loan secured by the First

Security Deed by granting Defendant, which, again, was a scheduled creditor in the Bankruptcy

Case, a security interest in the Property (the “January 2020 Security Deed”).




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                                              37.

         The January 2020 Security Deed was cancelled in the Real Estate Records in January of

2021, and the interest in the Property transferred through the January 2020 Security Deed was

returned.1

                                              38.

         The January 2020 Security Deed is further evidence of Defendant’s bad faith actions in

this Bankruptcy Case.

                                     f. Reservation of Rights

                                              39.

         During the course of this adversary proceeding, Trustee may learn (through discovery or

otherwise) of additional transfers made to Defendant during any applicable period under the

Bankruptcy Code or other applicable law. It is Trustee’s intention to avoid and recover, under

federal and state law, all transfers of any interest of Debtors in property made to or for the

benefit of Defendant or any other transferee, including but not limited to preferential, fraudulent,

and unauthorized post-petition transfers. Trustee reserves the right to amend this Complaint to

include: (i) further information regarding the subject transfers, (ii) additional transfers, (iii)

modifications of and/or revision to Defendant’s name, and/or (iv) additional defendants that may

become known to Trustee at any time during this Adversary Proceeding, through formal

discovery or otherwise, and for all such amendments to relate back to the date of filing of this

original Complaint.




1
       Because the interest in the Property has been returned, Trustee is not seeking to avoid and
recover the transfer arising out of the January 2020 Security Deed.


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                                              COUNT I

      Defendant’s Willful Violation of the Automatic Stay Under 11 U.S.C. § 362(a)(3)

                                                40.

         Trustee realleges the allegations of paragraphs 1 through 39 above as though fully set

forth herein.

                                                41.

         The Post-Petition Transfer was an act by Defendant to obtain possession or to exercise

control over property of the Bankruptcy Estate and to gain an advantage over the Bankruptcy

Estate’s other creditors and parties in interest.

                                                42.

         At the time of the Post-Petition Transfer, Defendant had actual knowledge of the

Bankruptcy Case.

                                                43.

         As a result of Defendant’s willful violations of the Automatic Stay, Defendant is liable to

Debtors’ Bankruptcy Estate for its actual damages incurred plus punitive damages, costs, and

attorney’s fees pursuant to 11 U.S.C. §§ 105(a) and/or 362(k).

                                              COUNT II

                 Avoidance of Unauthorized Post-Petition Transfer of Property
                                   Under 11 U.S.C. § 549

                                                44.

         Trustee realleges the allegations of paragraphs 1 through 39 above as though fully set

forth herein.

                                                45.

         The Post-Petition Transfer was a transfer of an interest of Debtors in the Property.



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                                                46.

         The Post-Petition Transfer was made after the Petition Date.

                                                47.

         The Court never entered an order authorizing a transfer of an interest in the Property by

Debtors to Defendant.

                                                48.

         The Post-Petition Transfer was not authorized by the Bankruptcy Code or order of the

Bankruptcy Court.

                                                49.

         Trustee may avoid the Post-Petition Transfer under 11 U.S.C. § 549.

                                             COUNT III.

Recovery of the Value of the Avoided Post-Petition Transfer Pursuant to 11 U.S.C. § 550(a)

                                                50.

         Trustee hereby realleges the allegations of paragraphs 1 through 39 and paragraphs 44

through 49 above as though fully set forth herein.

                                                51.

         Defendant is the initial transferee of an interest in the Property from Debtors.

                                                52.

         Plaintiff is entitled to recover from the Defendant the interest in the Property transferred

through the Post-Petition Transfer, or its value, under 11 U.S.C. § 550.




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                                            COUNT IV.

       Preservation of the Avoided Post-Petition Transfer Pursuant to 11 U.S.C. § 551

                                               53.

         Trustee hereby realleges the allegations of paragraphs 1 through 39 and paragraphs 44

through 52 above as though fully set forth herein.

                                               54.

         Once avoided, the Post-Petition Transfer is automatically preserved for the benefit of the

Bankruptcy Estate, pursuant to 11 U.S.C. § 551.

         WHEREFORE, Trustee prays that this Court enter a judgment in favor of Trustee and

against Defendant:

         (a)    holding that the Defendant’s above-stated actions were willful violations of the

                Automatic Stay;

         (b)    ordering Defendant to pay to Debtors’ Bankruptcy Estate all actual damages,

                costs, expenses, and attorney’s fees pursuant to 11 U.S.C. §§ 105(a) and/or 362(k)

                in an amount to be proven at trial for its willful violations of the automatic stay;

         (c)    ordering Defendant to pay Debtors’ Bankruptcy Estate punitive damages pursuant

                to 11 U.S.C. §§ 105(a) and 362 in an amount to be proven at trial for its willful

                violations of the automatic stay;

         (d)    avoiding the Post-Petition Transfer, pursuant to 11 U.S.C. § 549;

         (e)    ordering Defendant to return to Trustee the interest that it received in the Property

                to Trustee, or, alternatively, to pay Trustee the value of the Post-Petition Transfer

                under 11 U.S.C. §550;




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         (f)    preserving the avoided Post-Petition Transfer for the benefit of the Bankruptcy

                Estate, pursuant to 11 U.S.C. § 551; and

         (g)    granting such other and further relief as is just and proper.

         Respectfully submitted this 4th day of February, 2022.

                                                       ARNALL GOLDEN GREGORY LLP
                                                       Attorneys for Trustee

                                                       By:     /s/ Michael J. Bargar
                                                             Michael J. Bargar
171 17th Street, NW, Suite 2100                              Georgia Bar No. 645709
Atlanta, GA 30363                                            michael.bargar@agg.com
404-873-7030




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Bargar, Michael J.

From:                                                     Kami Elliott <kelliott@inspireclosings.com>
Sent:                                                     Friday, September 11, 2020 1:01 PM
To:                                                       Bargar, Michael J.
Subject:                                                  RE: Kelvin Johnson, Order 759045-1 (Loan# 0119067593)


Thank you for your prompt response. I will advise the proper managers. Thank you!


Kami Elliott
Title Clearance Coordinator
Inspire Closing Services
420 Rouser Road Building 3, Fifth Floor
Moon Township, PA 15108
Phone: (877) 901-1629 x34231
Fax: (844) 735-3500

kelliott@inspireclosings.com
https://www.inspireclosings.com




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From: Bargar, Michael J. [mailto:michael.bargar@agg.com]
Sent: Friday, September 11, 2020 12:54 PM
To: Kami Elliott <kelliott@inspireclosings.com>
Subject: RE: Kelvin Johnson, Order 759045-1 (Loan# 0119067593)

Dear Ms. Elliott:

          This firm represents S. Gregory Hays, as Chapter 7 Trustee for the bankruptcy case of Kelvin Bernard and Tracey
Anne Johnson (Case No. 19-51667-BEM). I am responding to your below email. Trustee vehemently objects to the
refinancing of the underlying loan. In fact, he has filed a lawsuit against the current mortgage company, and that
litigation remains pending.

               Thank you in advance for your time. Please let me know if you have any other questions.

               Kind regards,

               Mike

  Michael J. Bargar
  Partner

                                                                                                       1
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  Arnall Golden Gregory LLP
  171 17th Street NW, Suite 2100
  Atlanta, GA 30363
  p: 404.873.7030 f: 404.873.7031
  michael.bargar@agg.com | bio | linkedin | vcard | website

From: Kami Elliott [mailto:kelliott@inspireclosings.com]
Sent: Friday, September 11, 2020 12:24 PM
To: Greg Hays <ghays@haysconsulting.net>
Subject: *<Important>* New 'TitleClearing' Note for Kelvin Johnson, Order 759045-1 (Loan# 0119067593)


Hello, this is Kami from Inspire Closings, we are the title company working with Freedom Mortgage on the refi
application for Kelvin and Tracey Johnson. We just need to know if you will approve us to move forward with
the loan process due to the attached bankruptcy case. Please let me know if you have any questions, my direct
line is (304)685-9552. Thank you!




KAMI ELLIOTT
Inspire Closing Services
420 Rouser Road, Suite 500
Moon Township, PA 15108
Phone: 877-901-1629
Auto Attendant: 877-901-1629 ext. 34231
Fax: 844-735-3500
KELLIOTT@INSPIRECLOSINGS.COM
www.InspireClosingServices.com



Kami Elliott
Title Clearance Coordinator
Inspire Closing Services
420 Rouser Road Building 3, Fifth Floor
Moon Township, PA 15108
Phone: (877) 901-1629 x34231
Fax: (844) 735-3500

kelliott@inspireclosings.com
https://www.inspireclosings.com




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